            Case 2:21-cv-00031-BJR Document 24 Filed 01/13/21 Page 1 of 6




 1

 2

 3

 4

 5

 6

 7

 8   David J. Groesbeck
 9   WSBA No. 24749
     David J. Groesbeck, P.S.
10
     1333 E. Johns Prairie Rd
11   Shelton, Washington 98584
12
     Tel.: 509-747-2800
     Fax: 509-747-2828
13   Email: david@groesbecklaw.com
14
                  IN THE UNITED STATES DISTRICT COURT
15
                FOR THE WESTERN DISTRICT OF WASHINGTON
16

17
                                     AT SEATTLE

18

19   PARLER LLC,
20                                                No. 2:21-cv-00031-BJR
                           Plaintiff,
21
                 v.
22
                                                     DECLARATION OF
23   AMAZON WEB SERVICES, INC.,
                                                      AMY PEIKOFF
24

25                          Defendant
26

27

28

29

30

31
      PEIKOFF DECLARATION - 1                                   David J. Groesbeck, P.S.
                                                                Attorney and Counselor
32                                                              1333 E. Johns Prairie Rd
                                                              Shelton, Washington 98584
                                                                    (509) 747-2800
                Case 2:21-cv-00031-BJR Document 24 Filed 01/13/21 Page 2 of 6




 1         The undersigned declares as follows:
 2
           1.       I am the Chief Policy Officer at Parler LLC. I am over the age of 18
 3

 4   years and have personal knowledge, and competence to testify if needed, of the

 5
     matters set forth herein through firsthand knowledge and review of corporate
 6
     documents kept in the ordinary course of business.
 7

 8         2.       As Chief Policy Officer, I have been primarily responsible for working
 9
     with Amazon Web Services, Inc. (“AWS”) to address or remove any content that
10

11   AWS or others have brought to Parler’s attention as inappropriate. As soon as
12
     possible whenever notified, I have either personally reviewed and taken down
13

14   problematic content flagged by AWS or others or submitted it to our Community
15
     Jury for review in accordance with our Terms of Service.
16

17         3.       In November, AWS flagged a problem with Parler users posting
18
     pornography. Parler effectively addressed the issue by dedicating a special task
19
     force, composed of both jury members and support staff, to eradicating it.
20

21         4.       As a result of interactions with AWS, Parler has become increasingly
22
     proactive. For instance, since early-to-mid December 2020, Parler has been
23

24   working towards incorporating an Artificial Intelligence (“AI”) recognition system
25
     to pre-screen inappropriate content, such as pornography or material that
26

27   encouraged or incited violence, in the beginning of 2021. AWS knew by mid-
28

29

30

31
      PEIKOFF DECLARATION - 2                                             David J. Groesbeck, P.S.
                                                                          Attorney and Counselor
32                                                                        1333 E. Johns Prairie Rd
                                                                        Shelton, Washington 98584
                                                                              (509) 747-2800
                Case 2:21-cv-00031-BJR Document 24 Filed 01/13/21 Page 3 of 6




 1   December about Parler’s plans to implement such a system, and even suggested
 2
     that Parler use Amazon’s own AI system for that purpose. Ex. B.
 3

 4         5.       Previously, however, Parler has generally relied on a jury system,

 5
     wherein Parler users would report content, and a panel of jurors would vote as to
 6
     whether to assign violation points or remove problematic content according to
 7

 8   Parler’s Community Guidelines. The Parler “jury pool” received significant
 9
     training about the terms of service and what constituted violations of them,
10

11   including that Parler had no tolerance for inciting violence and lawbreaking.
12
           6.       On November 17, 2020, AWS sent Parler some content it had flagged
13

14   as encouraging or inciting violence. Over the next four weeks, AWS would
15
     occasionally send additional Parler user content it had flagged.
16

17         7.       The last such email before January 8, 2021, was sent by AWS on
18
     December 19, 2020. Thus, from December 19, 2020 until January 8, 2021, AWS did
19
     not flag any specific problematic content to Parler.
20

21         8.       In none of these emails prior to January 8, 2021, did AWS state that
22
     Parler’s systems or efforts to police and remove violent content, including its jury
23

24   system, amounted to a breach of contract.
25
           9.       On January 6, 2021, AWS forwarded to Parler a generic complaint
26

27   about problematic content, but without any particular examples. Ex. G. That same
28
     day I responded, informing AWS that Parler had been dealing appropriately with
29

30

31
       PEIKOFF DECLARATION - 3                                            David J. Groesbeck, P.S.
                                                                          Attorney and Counselor
32                                                                        1333 E. Johns Prairie Rd
                                                                        Shelton, Washington 98584
                                                                              (509) 747-2800
                Case 2:21-cv-00031-BJR Document 24 Filed 01/13/21 Page 4 of 6




 1   this content, including cooperating with law enforcement, and offered to get on a
 2
     call do discuss the measures we were taking. (We had added an escalation
 3

 4   procedure since the December 19 communication, plus had posted on workable a

 5
     job listing for new members of a “Community Guidelines Enforcement Task Force.”
 6
     Ex. G.
 7

 8            10.   The next day, January 7, 2021, AWS responded via email that the
 9
     previous email was just for Parler’s information and to consider the matter
10

11   “resolved.” Ex. G. Thus, before January 8, 2021, Parler had no communication to
12
     the effect that AWS considered Parler to have an ongoing problem, that Parler’s
13

14   current and future plans for content moderation were deficient, or that Parler was
15
     violating the User Agreement.
16

17            11.   What is more, per our Chief Technical Officer, AWS admitted to
18
     Parler in an email on December 16, 2020, from an AWS Technical Account
19
     Manager, that he “used to receive more than a dozen report [sic] per day for another
20

21   customer” and that “Twitter is moving their timeline workload into AWS[,] which
22
     I can imagine will mean more abuse for Twitter too.” Ex. A. He further stated that
23

24   as far as any “abuse report[s]” were concerned, he was “definitely in this journey
25
     with you.”
26

27            12.   On January 8, 2021, for the first time since December 19, AWS sent
28
     specific examples to Parler of content that encouraged or incited violence. I or my
29

30

31
      PEIKOFF DECLARATION - 4                                            David J. Groesbeck, P.S.
                                                                         Attorney and Counselor
32                                                                       1333 E. Johns Prairie Rd
                                                                       Shelton, Washington 98584
                                                                             (509) 747-2800
             Case 2:21-cv-00031-BJR Document 24 Filed 01/13/21 Page 5 of 6




 1   staff removed the content as soon as practicable after our server difficulties on
 2
     January 8.
 3

 4         13.    In the wake of Twitter banning President Trump, on that same

 5
     afternoon, Friday, January 8, Parler experienced an intense burst of activity and
 6
     new users, causing it to shut down for approximately seven hours in the afternoon
 7

 8   and evening. During that period, approximately 26,000 instances of content that
 9
     potentially encouraged violence, or otherwise violated Parler’s Terms of Service
10

11   were posted and flagged.
12
           14.    As soon as Parler was back up and running, it began to remove this
13

14   content, something that was communicated to AWS. By the end of Sunday,
15
     January 10, 2021, Parler’s jury had reviewed all but approximately one thousand
16

17   of these reported posts in those 48 hours—a total of over 25,000, or close to 1,000
18
     problematic posts reviewed in about an hour.
19
           15.    Early in the afternoon on Sunday, January 10, I emailed the AWS
20

21   Trust and Safety Team, informing them of additional steps Parler had taken since
22
     the morning before to address the recent surge in incitement and threats on our
23

24   platform. Ex. C. I reminded AWS that I had informed them in a phone conversation
25
     the previous morning that “we have been taking this content very seriously for
26

27   weeks, as well as working closely with law enforcement.” Id. I then laid out the
28
     additional measures we had implemented. See id.
29

30

31
      PEIKOFF DECLARATION - 5                                           David J. Groesbeck, P.S.
                                                                        Attorney and Counselor
32                                                                      1333 E. Johns Prairie Rd
                                                                      Shelton, Washington 98584
                                                                            (509) 747-2800
             Case 2:21-cv-00031-BJR Document 24 Filed 01/13/21 Page 6 of 6




 1         16.    Due to AWS’s actions, I have received a number of hostile comments
 2
     and messages through social media. I also learned this morning that AWS’s actions
 3

 4   have now affected my academic career: Bepress, a cloud hosting company for

 5
     scholarship, has apparently removed from its servers the page containing links to
 6
     my academic articles on privacy.
 7

 8         I declare under penalty of perjury that the foregoing is true and correct.
 9
           Executed on January 13, 2021 at Austin, Texas.
10

11

12                                       Amy Peikoff
                                     _______________________
13                                   Amy Peikoff
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

29

30

31
      PEIKOFF DECLARATION - 6                                            David J. Groesbeck, P.S.
                                                                         Attorney and Counselor
32                                                                       1333 E. Johns Prairie Rd
                                                                       Shelton, Washington 98584
                                                                             (509) 747-2800
